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MONTEREY COUNTY
OFFICE OF THE DISTRICT ATTORNEY§

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CONSUMER AND ENVIRONMENTAL PROTECTIGN UNiT

 

roy 30, 2013

ny nat & Us Msn gss'_r) 352-1371

Mr. Danicl Lipslcy, President

Nationwide Bi-Weeltly Administration, lnc.
855 lower Bellbrook Road

Xenia, Ohio 45385

RE: People of thc State of Calii'omia v. Nationwiide Bi-Weekly Administration, Inc.
Dear Mr. l.,ipslcy: t

The Distr'ict Attorneys for Marin and Monterey County are in receipt of numerous complaints about
the marketing and business practices ot`Nationwide Bi-Weekiy Administration, inc. (“Nationwide”).
Your company has been marketing and doing business§ in Calit`ornia t`or several years and these
complaints indicate a pattern of deceptive business practices having an adverse impact on California
consumers Thc complaints allege that Nationwidc aka L,oan Payrncnt Adrninistration mailed
solicitations to the consumers referencing the name ofthc consomcrs’ lenders and the consumers’ loan
information 5

California anincss and Proi`cssions Code Section l§4701(a) states:

No person shall include the aarne, trade nanie, logo, or tagline of a lender
in a written solicitation for financial services directed to a consumer who
has obtained a loan me the lender Without the consent of the lender,
unless the solicitation clearly and conspicuously states the person is not
sponsored by or affiliated with the lender and that the solicitation is not
authorized by the lender, which shall bee identified by name. __Th§
statement shall be made in close proximig tox and in the same or la_rger

font size as the first and the most promin nt use or uses of the namc,

trade namc, logo2 or tagline in the solicitaticL including on an envelope

or through an envelope window containing the solicitation (Ernphasis
addod.) z

 

 

Our investigation shows that Nationwide mails solicitations to consumers which include the name of
the consumor’s lender in the header of the letter which can be seen through the envelope window.
Nationwidc appears to use the lender’s name in the solicitation without the lender’s consent
Nationwide’s so}icitations contain a concluding statement at the very bottom of the solicitation and in a
smaller |`ont then is used for the consumer’s lender”s name Which states in pertinent part:
“[Nationwide] is not aftiliatcd, ¢:,o:nroctedj or associated with the lender listed above".

 

1200 Ag,uajito Road., Room 301, Montcrcy, CA 93940 - Teleri)hone (831) 647-7770 * l"ax {`331) 647-7762

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Nationwidc's solicitations are in violation of California Business and Professions Codc Section
i4701(a). 'l`he solicitations fail to clearly and conspicuously state in close proximity to. and in the
same or larger font size as. the first and the most nrbminent use or rises of the name that: l)
ll‘~Iationwide is not sponsored by the named lender; 2) l\§Iationwide is not 'afliliated with the named
lender; and 3) Nationwide’s solicitation is not authorized by the named lender. These required
statements are also neither printed on the envelope nor visible through the envelope window.
Nationwide's concluding statement does not satisfy any=of the statutory requirements of California
Business and Prot'essions C.odc section ld'lOl(a}. i

Calit`orrria Business and Protisssions Code Section l4702 states:

No person shall include a- consumer’s loan number or loan amount
Whether or not publicly available in ag solicitation for services or
products without the consent of the consumer, unless the solicitation
clearly and conspicuously States, When applicable that the person is not
sponsored by or aiiiliated with the lender and that the solicitation is not
authorized by the iender, and states that the; consumer’s loan information
was not provided to that person by that lender. 'l`his statement shall be
made in close proximity to, and in the same§or larger font as, the first and
the most prominent use or uses of the constuner’s loan information in the
solicitation including on an envelope or flu'ough an envelope Window
containing the solicitation (Emphasis added.)

Our investigation shows that Nationwidc mails solicitations to consumers which include the
consumer’s loan amount in the header of the letter. Natioiiwide includes consurners’ loan amounts in
their solicitations without the consent of the consumers Nationwide's solicitations contain a
concluding statement at the very bottom of the solicitation and in a smaller font than is used for the
loan amount which states in pertinent part: “[Natiouwide} is not aiiiliated, connected, or associated
with the lender listed above information concerning your loan Was obtained from public record.”

Nationwide's solicitation letters are in violation of Califor§nia Business and Prot`cssions Code Section
i4702. The solicitations fail to clearly and conspicuously§state in close proximity to. and in the same
or larger tent aetna first and the most prominent use or uses of the consumer’s loan infonnation in the
solicitation that: l} Nationwide is not sponsored by the ler§rder; 2) Nationwide is not affiliated with the
lender; 3) Nationwide's solicitation is not authorized by the lender; and 4) the consumer’s loan
information Was not provided to Nationwide by the lende:r. Nationwide's concluding statement does
not satisfy any of the statutory requirements of Califoniia Business and Professions Code section
14702.

Caiiii)rnia Business and Professions C‘ode section l7500 prohibits untlue, deceptive3 and misleading
advertising Advcrtisements are deceptive if the statemehts contained therein have the capacity to
mislead members of the public; the intent to deceive is not necessary Nationwide's solicitations have
the capacity to deceive and mislead consumers into believing Nationwide is sponsored by or affiliated
with the lender, the solicitation is authorized by the lende§r, or the consumcr’s loan information was
provided by the lender, due to the prominent placement of ithe lender’s naruc and the consumer’s loan
amount in the header of the letter. l*`or example, the placement of the lender“s name in the header of
thc letter may lead the constuner to believe their lender is, in fact, the originator of the correspondence
or affiliated With Nationwidc. Consoqueattly, Nationwide'§s solicitations appear to be in violation ot`
Caiifornia Busincss and Prot`cssions Codc section 17500.
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Our investigation of Nationwide's solicitations also indicate that Nationwide may be in violation of
C!alifornia's Cbecir Sellers, Bill Payers and Proratcrs LaW_ (Caiifornia Finauce Code section 12000 et.
seq_) "A prorater is a person who, for compensation, engages in whole or in part in the business of
receiving money or evidences thereof for the purpose of distributing the money or evidences thereof
among creditors in payment or partial payment of the obligations of the debtor." (CA Financc Codc
section 12002.1) Financc Codc section 12200 states'in pertinent part that "[n]o person shall engage in
the business for compensation of...aci_:ing as a prorater.§..without first obtaining a license from the
commissioner." Based on the services oHered by Nationwid_c in their solicitation, it would appear
Nationwide is acting as a prorater and therefore requiredg to obtain a proraters license A California
prorater license check on the Ca]il`omia Departrnent ot`Businees O\ersigbt website failed to show a
proratcr license issued to either l\iationwide Biweelrly Adrninistration or Loan Payment
Administration.

California Business and l"rofessions Code section l7200 prohibits unlawful business practices or acts
which are committed pursuant to business activity and, §at the same time forbidden by law Auy
violations of law pursued as a business practice are, iper se, violations As previously stated,
l\iationwide's Solicita,tions arc in violation of Business and Professions Code sections 14701(3.) and
14702, and appear to be in violation of Business and Pr§ot`essions Code section 17500 and Finance
Codc section 12200. By delinition, violations of those sections also violate Busincss and Professions
Codc section 17200.

We are familiar with the public judgment resolving similarfallegations brought by the Obio State
Attorney General’s ot`tice. We are also cognizant ot` the fact that Nauonndde is registered with the
California Secretary of State. From these, we conclude that you and your company are more than
familiar With consumer protection laws in the other states in which you do business

Our immediate goal' rs a cessation of any unlawful marketing or business practices and the protection
oi consumers -

Wc are now determining what formal legal aetion, if any, will he taken, Before we make that
detramination, it is our custom to invite the business to meet with us to discuss any potential legal
action Whilc such a meeting is, of course, purely voluntary, it does offer Nationwide the opportunity
to provide any information it feels may he relevant to our determination and on whether or not
l\lationwidc' is now complying with Calithrnia law_ Additi onally, the meeting offers Natiouwide the
chance to discuss a pre-tiling resolution of this case in the form of a public judgment

lt` you wish to meet with us, you need to contact the undersigned at your hrst opportunity to arrange a
date and time Let me emphasize that time is of the essence in this regard.

We look forward to hearing from you.

loan F. nn asks

Deputy Disu"ict Attorney
Consumer Protection Unit

   
 

cc: Marin County District Attorney

